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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA
                                          CRIMINAL ACTION
         v.                               NO. 1:09-CR-454-5-CAP
GERARDO RODRIGUEZ-SALGADO,
              Defendants.


                                 O R D E R

       This action is currently before the court on the Magistrate

Judge’s report and recommendation [Doc. No. 124].              The defendant

has filed not objections.

       Having carefully considered the report and recommendation and

the    record   as   whole,    the    court   receives   the    report     and

recommendation [Doc. No. 124] with approval and ADOPTS it as the

opinion and order of this court.

         SO ORDERED, this 30th day of July, 2010.



                                     /s/ Charles A. Pannell, Jr.
                                     CHARLES A. PANNELL, JR.
                                     United States District Judge
